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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )
                                            )
v.                                          )
                                            )      Crim. No. 17-201 (ABJ/DAR)
PAUL J. MANAFORT, JR. and                   )
RICHARD W. GATES III,                       )
                                            )
               Defendants.                  )

  DEFENDANT PAUL J. MANAFORT, JR.’S MOTION TO EXTEND TIME FOR
      FILING A MOTION TO MODIFY CONDITIONS OF RELEASE OR,
ALTERNATIVELY, ADJOURN THE BOND REVIEW HEARING SCHEDULED FOR
                        NOVEMBER 6, 2017

       Paul J. Manafort, Jr., by and through counsel, hereby moves this Court to extend

the time in which to file a motion to modify the conditions of release imposed by U.S.

Magistrate Judge Robinson on October 30, 2017, until November 4, 2017, or,

alternatively, to adjourn the bond review hearing scheduled for November 6, 2017. The

Government does not object to this Motion for additional time. The basis for this request

is set forth below:

       On November 2, 2017, the Court ordered that Mr. Manafort file any motion to

modify the conditions of release on November 2, 2017, and further ordered that the

Government file any response to such motion by November 3, 2017. 1 Since the

conclusion of the status hearing before the Court yesterday afternoon, the parties have

engaged in discussions—which are continuing—to identify conditions of release for Mr.

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  The defense asks the Court’s indulgence with respect to this filing on November 3.
After carefully considering the Court’s comments at yesterday’s status conference, the
previously anticipated action of reformatting the earlier submitted memorandum into a
motion format, which could have been accomplished before midnight on November 2,
was abandoned. Counsel was not in a position last evening to make certain
representations contained in this Motion, which required additional discussions with the
Office of Special Counsel.
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Manafort that will be mutually acceptable to both parties and that will provide the Court

with reasonable assurance that Mr. Manafort will appear as required. See 18 U.S.C.

Section 3142.

       More particularly, taking into account the points raised by the Court at

yesterday’s conference, counsel for Mr. Manafort have been actively attempting to

identify assets that can be pledged as part of a bail package that the Government and Mr.

Manafort can agree upon and submit for the Court’s consideration.          This has been

occurring since the status conference yesterday, through last evening, and continuing

throughout today. The discussions are progressing, but additional time is necessary to

finalize the particulars of a jointly agreed-upon bail recommendation.

       Accordingly, the defense is requesting until November 4, 2017, to file a jointly

agreed-upon bail recommendation for the Court’s consideration. If a jointly agreed-upon

bail recommendation can be finalized and filed by that date, then counsel would be

prepared to present the bail package for the Court’s consideration at the bond review

hearing scheduled for November 6, 2017. However, this request anticipates that a filing

on November 4 would provide the Court with adequate time to review a jointly agreed-

upon bail recommendation before the hearing date on November 6; counsel understands

that this may not be the case. Nevertheless, the defense did not want to move initially to

reschedule a date already set aside by the Court if, in fact, a jointly agreed-upon bail

recommendation can be finalized by the parties and submitted to the Court by tomorrow,

and if the Court determined that it would have sufficient time to review the matter within

that time frame.




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       Alternatively, if the parties require more time to finalize the terms and cannot file

a jointly agreed-upon bail recommendation by November 4, 2017, or if the Court

determines that it needs more time to review the contents of a jointly agreed-upon bail

recommendation, then the defense requests—without Government objection—that the

currently scheduled hearing on November 6 be adjourned to a date and time convenient

to the Court’s calendar. Counsel, of course, are available at the Court’s convenience to

coordinate dates and to advise the Court regarding the status of the parties’ ongoing

discussions.

       WHEREFORE, Defendant Manafort hereby moves to extend the time in which to

file a motion to modify the conditions of release imposed by U.S. Magistrate Judge

Robinson on October 30, 2017, until November 4, 2017, or, alternatively, to adjourn the

bond review hearing scheduled for November 6, 2017 to a date and time convenient to

the Court.



Respectfully submitted,


/s/ Kevin M. Downing _
Kevin M. Downing, D.C. Bar No. 1013984
Thomas E. Zehnle, D.C. Bar No. 415556
815 Connecticut Avenue, N.W.
Suite 730
Washington, D.C. 20006
(202) 754-1992


Dated: November 3, 2017




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